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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

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                                                      x
CITY OF NEW YORK,                                     :
                                                      :
                      Plaintiff,
                                                      :
       v.                                             :
                                                      : Case No. 18 Civ. 182 (JFK)
BP P.L.C.; CHEVRON CORPORATION;                       :
CONOCOPHILLIPS; EXXON MOBIL                           :
CORPORATION; and ROYAL DUTCH SHELL                    :
PLC,                                                  :
                                                      :
               Defendants.                            x
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                     NOTICE OF CHEVRON CORPORATION’S
              MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       PLEASE TAKE NOTICE that upon Chevron Corporation (“Chevron”), ConocoPhillips,

and Exxon Mobil Corporation’s (collectively, “Defendants”) Memorandum of Law Addressing

Common Grounds in Support of Their Motions to Dismiss the Amended Complaint, and all prior

pleadings and proceedings in this matter, Chevron respectfully moves this Court for entry of an

order dismissing Plaintiff’s Amended Complaint with prejudice pursuant to Rules 12(b)(1) and

12(b)(6) of the Federal Rules of Civil Procedure.



Dated: March 30, 2018                               Respectfully submitted,

New York, New York                                  GIBSON, DUNN & CRUTCHER LLP

                                                    /s/ Anne Champion

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